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I                                                                                       IJCT 101989
                           IN THE UNITED STATES DISTRICT COURT                                   3S-%
                               FOR THE DISTRICT OF NEBRASKA                         William ~Ison,, Cieri< .
                                                                               Rv                      Deputy
    UNITED STATES OF AMERICA,        )
                                     )                         CR88-L-33(07)
                        Plaintiff,   )
                                     )                   JUDGMENT AND
         vs.                         )                 COMMITMENT ORDER
                                     )        UNDER SENTENCING REFORM ACT OF 1984
    HOUSTON NALLS,                   )
                                     )
                        Defendant.   )


         On October 10, 1989, in the presence of the attorney for the
    government, the defendant appeared in person with counsel, Leonard Dunker.
    DEFENDANT    X pleaded guilty to Count I.
         Accordingly, the defendant is adjudged guilty of such count, which
    involves the following offense:
      Title ~ Section                Nature of Offense                      Count Number
        21:846                Conspiracy to distribute and to                       I
                              possess with intent to distribute
                              cocaine, a Schedule II controlled
                              substance
         Count II through XV, inclusive, are dismissed.

                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States
    Bureau of Prisons to be imprisoned for a term of three (3) years under 18
    USC 3621 and 3624.
         Execution of the sentence of imprisonment is suspended until
    November 13, 1989, at 2:00 p.m., at which time the defendant shall
    voluntarily surrender to the institution as directed by the U. S. Marshal.

                                         SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised
    release for a term of five (5) years under 18 USC 3583.
         While on supervised release, the defendant shall comply with the
    standard conditions that have been adopted by this court as follows:
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                    STANDARD CONDITIONS OF SUPERVISED RELEASE
While the defendant is on probation or supervised release pursuant to this
Judgment, defendant:
1.   Shall not commit another federal, state or local crime;
2.   shall not leave the judicial district or other specified geographic
     area without the permission of the court or probation officer;
3.   shall report to the probation officer as directed by the court or
     probation officer and shall submit a truthful and complete written
     report within the first five days of each month;
4.   shall answer truthfully to any inquiries by the probation officer and
     follow the instructions of the probation officer;
5.   shall support his or her dependents and meet other family responsi-
     bilities;
6.   shall work regularly at a lawful occupation unless excused by the
     probation officer for schooling, training, or other acceptable reasons;
7.   shall notify the probation officer prior to any change in residence or
     employment;
8.   shall not frequent places where controlled substances are illegally
     sold, used, distributed, or administered, or other places specified by
     the court;
9.   shall not associate with any persons engaged in criminal activity, and
     shall not associate with any person convicted of a felony unless
     granted permission to do so by the probation officer;
10. shall permit a probation officer to visit at any time at home or
    elsewhere and shall permit confiscation of any contraband observed in
    plain view by the probation officer;
11. shall notify the probation officer within seventy-two hours of being
    arrested or questioned by a law enforcement officer;
12. shall not enter into any agreement to act as an informer or special
    agent of a law enforcement agency without the permission of the court;
13. shall, as directed by the probation officer, notify third parties of
    risks that may be occasioned by the defendant's criminal record or
    personal history or characteristics, and shall permit the probation
    officer to make such notification and to confirm the defendant's
    compliance with such notification requirement;
14. shall not possess or control any firearms or ammunition.
Houston Nalls
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         Defendant shall comply with the following additional conditions:
                          SPECIAL CONDITIONS OF SUPERVISED RELEASE
       1. Defendant shall attend and successfully complete any counseling or
  treatment program recommended by the supervising probation officer.
       2. Defendant shall not use or possess alcoholic beverages or
  controlled substances during the entire period of supervised release except
  those medicines prescribed by a physician.
       3. Defendant shall submit to chemical testing at the request of the
  supervising probation officer to detect the presence of alcohol or
  controlled substance in the defendant's body fluid.
       4. Defendant shall be subject to any reasonable search of the
  defendant's premises, vehicle or person, day or night, with or without a
  warrant, at the requ_est of the supervising probation officer to determine
  the presence of alcoholic beverage or controlled substances and seizure of
  alcoholic beverages or controlled substances found there. The probation
  officer may invoke this with or without the cooperation of law enforcement
  officers.
       5. Defendant shall perform 140 hours of community service for a non-
  profit or governmental agency during the first two years of supervised
  release.
       4. Defendant shall pay costs of prosecution in the sum of $6.36,
  payable immediately.
       IT IS FURTHER ORDERED that the defendant shall pay to the United
  States a special assessment as required by 18 USC 3013 in the amount of
  $50.00, payable immediately.
       IT IS FURTHER ORDERED that the defendant shall notify the United
  States Attorney for this district within 30 days of any change of residence
  or mailing address until all fines, restitution, costs, and special
  assessments imposed by this Judgment are fully paid.
  Defendant's Soc.Sec.Number:                   Defendant's mailing address:
  XXX-XX-XXXX                                   2908 E St., Lincoln, NE 68510



 DATED:     October 10, 1989                    BY THE COURT


                                                         K. Urbom
                                                         States District
